993 F.2d 1539
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald Jerry SAWYER, Plaintiff-Appellant,v.Edward W. MURRAY;  R. A. Young;  Dave Garraghty;  MajorWalker, Defendants-Appellees.
    No. 93-6301.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 3, 1993Decided:  May 28, 1993
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.  (CA-91-1006)
      Ronald Jerry Sawyer, Appellant Pro Se.
      William Rundahl Coleman, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL and HALL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Ronald Jerry Sawyer appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Sawyer v. Murray, No. CA-91-1006 (E.D. Va.  Feb. 16, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    